
Chancellor Desaussure,
dissenting. — I had intended to concur with the court of appeals, but upon further reflection, I find I cannot do so. It appears to me, that as Tollison could *97Hot establish his demand at law, for want of an account of the money received by West for the scholars received • into the family school, to the profits of which Tollison was entitled under the hiring and agreement of West, he is entitled to come unto equity to obtain that account and to establish his demands for hire. The right to an account being certain and not attainable at law, he ought to berelieved here. His not coming sooner and establishing his distinct and independant demand, ought not, in my opinion, to preclude him now. I am therefore of opinion, that the decree of the circuit court oughtto be affirmed.
